     Case: 1:18-cv-05587 Document #: 494 Filed: 08/27/19 Page 1 of 2 PageID #:7303




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                )
UNITED STATES SECURITIES                        )
AND EXCHANGE COMMISSION,                        )
                                                )
                      Plaintiff,                )       Civil Action No. 18-cv-5587
                                                )
v.                                              )       Hon. John Z. Lee
                                                )
EQUITYBUILD, INC., EQUITYBUILD                  )       Magistrate Judge Young B. Kim
FINANCE, LLC, JEROME H. COHEN,                  )
and SHAUN D. COHEN,                             )
                                                )
                      Defendants.               )
                                                )

                  ORDER APPROVING RECEIVER’S MOTION
         TO APPROVE USE OF SALE PROCEEDS FOR RENT RESTORATION

        Kevin B. Duff, as the receiver (“Receiver”) for Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen

and Shaun Cohen (collectively, the “Receivership Defendants”), having filed a motion for Court

approval of the use of certain proceeds described herein from the sale of 6160-6212 S. Martin

Luther King Drive, Chicago, Illinois (the “6160 MLK Property”) for purpose of rent restoration

in accordance with the Court’s Order of February 13, 2019, the Court having conducted a

hearing on the motion and for good cause shown,

IT IS HEREBY ORDERED THAT:

     1. The Receiver’s Motion is granted.

     2. The Court hereby orders that the amount of $54,102.21 (or such amount as remains due)

        that the 6160 MLK Property received from rents generated by other properties be
Case: 1:18-cv-05587 Document #: 494 Filed: 08/27/19 Page 2 of 2 PageID #:7303




   transferred, pro rata, to accounts for the benefit of those properties to which rent

   restoration is due in accordance with the Court’s Order of February 13, 2019.

3. For purposes of determining pro rata transfers, the Receiver shall use as a basis the

   amounts reflected on the most recent monthly rent restoration reports provided to the

   lenders; provided, however, that a transfer shall not be made if in the interim the Receiver

   has made subsequent payments for the benefit of any property that previously was

   entitled to rent restoration that would – together with amounts from the 6160 MLK

   Property – exceed the amount to which the property receiving rent restoration is entitled.

4. The accounts to which such transfers shall be made shall be the account for each property

   with the property manager, except for properties that have been sold. In the latter

   instance, the transfer shall be made to the account established by the Receiver to hold

   such proceeds.




                                 Entered: 8/27/19


                                                 ______________________________
                                                 Honorable John Z. Lee




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